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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                   x

 JDM IMPORT CO. INC., MG                                 Case No.: 20-cv-08759
 WORLDWIDE EEC, and ASIA PACIFIC
 JEWELRY, E E C.
                                                        NOTICE OF APPEARANCE
                                Plaintiffs,

                  against

 AMIT SHAH and THE JEWELRY CO.,

                                Defendants.
                                                   x

To:    The Clerk of this Court and All Parties of Record

       PLEASE TAKE NOTICE that the undersigned hereby appears as counsel for Plaintiffs in

the above-captioned case, and requests to receive notice of all docket events via ECF.

       I certify that I am admitted to practice in this Court.

Dated: New York, New York
       October 22, 2020
                                                       MOSES & SINGER LLP


                                                       By:/s/ Gregory Fleesler_________
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